     Case 2:20-cv-01746-AB-AGR Document 1 Filed 02/24/20 Page 1 of 9 Page ID #:1


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 7

 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     CARMEN JOHN PERRI, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                    Plaintiff,               1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     CARSON EMERALD 101, LLC, a
                                                  325).
18   California limited liability company;
     and DOES 1-10, inclusive,
19                                             2. VIOLATIONS OF THE UNRUH
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                 CIVIL CODE § 51 et seq.
21

22
           Plaintiff, CARMEN JOHN PERRI (“Plaintiff”), complains of Defendants
23
     CARSON EMERALD 101, LLC, a California limited liability company; and Does
24
     1-10 (“Defendants”) and alleges as follows:
25
                                             PARTIES
26
           1.      Plaintiff’s musculoskeletal and neurological systems are impaired.
27
     These impairments result in weakness, fatigue, pain, and loss of strength in his arms,
28
     hands, and legs. He has also developed permanent nerve damage that has caused
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                                          COMPLAINT
     Case 2:20-cv-01746-AB-AGR Document 1 Filed 02/24/20 Page 2 of 9 Page ID #:2


 1   increased pain and limits his ability to function and limits his mobility, especially for
 2   any extended period of time. He is substantially limited in performing one or more
 3   major life activities, including but not limited to: walking, standing, ambulating,
 4   and/or sitting. Plaintiff’s circulatory and cardiovascular systems are impaired.
 5   Specifically, Plaintiff has been diagnosed with Atrial Fibrillation. This substantially
 6   limits his ability to walk, stand, ambulate, breath, sit, or otherwise function. As a
 7   result of his impairments, he is subject to falls, unsteady on his feet, cannot walk for
 8   any significant distance without having to periodically rest, and often relies upon
 9   mobility devices to ambulate including a cane, walker, or wheelchair. With such
10   disabilities, Plaintiff qualifies as a member of a protected class under the Americans
11   with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA Amendments
12   Act of 2008 (P.L. 110-325) (“ADA”) and the regulations implementing the ADA set
13   forth at 28 C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to Defendants’
14   facility and prior to instituting this action, Plaintiff suffered from a “qualified
15   disability” under the ADA, including those set forth in this paragraph. Plaintiff is
16   also the holder of a Disabled Person Parking Placard.
17         2.     Plaintiff is informed and believes and thereon alleges that Defendant
18   CARSON EMERALD 101, LLC, a California limited liability company, owned the
19   property located at 117 E. Carson St., Carson, CA 90745 (“Property”) on or around
20   February 10, 2020.
21         3.     Plaintiff is informed and believes and thereon alleges that Defendant
22   CARSON EMERALD 101, LLC, a California limited liability company, owns the
23   Property currently.
24         4.     Plaintiff does not know the true name of Defendants, its business
25   capacity, its ownership connection to the Property serving Foster Freeze
26   (“Business”), or its relative responsibilities in causing the access violations herein
27   complained of. Plaintiff is informed and believes that each of the Defendants herein,
28   including Does 1 through 10, inclusive, is responsible in some capacity for the
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                                            COMPLAINT
     Case 2:20-cv-01746-AB-AGR Document 1 Filed 02/24/20 Page 3 of 9 Page ID #:3


 1   events herein alleged, or is a necessary party for obtaining appropriate relief.
 2   Plaintiff will seek leave to amend when the true names, capacities, connections, and
 3   responsibilities of the Defendants and Does 1 through 10, inclusive, are ascertained.
 4                               JURISDICTION AND VENUE
 5          5.     This Court has subject matter jurisdiction over this action pursuant
 6   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
 7          6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
 8   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 9   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
10   federal ADA claims in that they have the same nucleus of operative facts and
11   arising out of the same transactions, they form part of the same case or controversy
12   under Article III of the United States Constitution.
13          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
14   real property which is the subject of this action is located in this district and because
15   Plaintiff's causes of action arose in this district.
16                                FACTUAL ALLEGATIONS
17          8.     Plaintiff went to the Business on or about February 10, 2020 for the
18   dual purpose of purchasing food items and to confirm that this public place of
19   accommodation is accessible to persons with disabilities within the meaning federal
20   and state law.
21          9.     The Business is a facility open to the public, a place of public
22   accommodation, and a business establishment.
23          10.    Parking spaces are one of the facilities, privileges and advantages
24   reserved by Defendants to persons at the property serving the Business.
25          11.    Unfortunately, although parking spaces were one of the facilities
26   reserved for patrons, there were no designated parking spaces available for persons
27   with disabilities that complied with the 2010 Americans with Disabilities Act
28   Accessibility Guidelines (“ADAAG”) on February 10, 2020.
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                                             COMPLAINT
     Case 2:20-cv-01746-AB-AGR Document 1 Filed 02/24/20 Page 4 of 9 Page ID #:4


 1         12.    At that time, instead of having architectural barrier free facilities for
 2   patrons with disabilities, Defendants have: a built up curb ramp that projects from
 3   the sidewalk and into the access aisle (Section 406.5). Furthermore, the curb ramp is
 4   in excess of the maximum grade allowed by ADAAG specifications (Section 406.1);
 5   an accessible aisle that is not clearly marked (Section 502.3.3); and, an accessible
 6   parking space that does not contain compliant accessible parking signage (Section
 7   502.6).
 8         13.    Subject to the reservation of rights to assert further violations of law
 9   after a site inspection found infra, Plaintiff asserts there are additional ADA
10   violations which affect him personally.
11         14.    Plaintiff is informed and believes and thereon alleges Defendants had
12   no policy or plan in place to make sure that there was compliant accessible parking
13   reserved for persons with disabilities prior to February 10, 2020.
14         15.    Plaintiff is informed and believes and thereon alleges Defendants have
15   no policy or plan in place to make sure that the designated disabled parking for
16   persons with disabilities comport with the ADAAG.
17         16.    Plaintiff personally encountered these barriers. The presence of these
18   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
19   conditions at public place of accommodation and invades legally cognizable
20   interests created under the ADA.
21         17.    The conditions identified supra in paragraph 12 are necessarily related
22   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
23   the major life activities of walking, standing, ambulating, and sitting; Plaintiff is the
24   holder of a disabled parking placard; and because the enumerated conditions relate
25   to the use of the accessible parking, relate to the slope and condition of the
26   accessible parking and accessible path to the accessible entrance, and relate to the
27   proximity of the accessible parking to the accessible entrance.
28         18.    As an individual with a mobility disability who at times relies upon a
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                                            COMPLAINT
     Case 2:20-cv-01746-AB-AGR Document 1 Filed 02/24/20 Page 5 of 9 Page ID #:5


 1   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
 2   accommodations have architectural barriers that impede full accessibility to those
 3   accommodations by individuals with mobility impairments.
 4          19.      Plaintiff is being deterred from patronizing the Business and its
 5   accommodations on particular occasions, but intends to return to the Business for the
 6   dual purpose of availing himself of the goods and services offered to the public and
 7   to ensure that the Business ceases evading its responsibilities under federal and state
 8   law.
 9          20.      Upon being informed that the public place of accommodation has
10   become fully and equally accessible, he will return within 45 days as a “tester” for
11   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
12   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
13          21.      As a result of his difficulty experienced because of the inaccessible
14   condition of the facilities of the Business, Plaintiff was denied full and equal access
15   to the Business and Property.
16          22.      The Defendants have failed to maintain in working and useable
17   conditions those features required to provide ready access to persons with
18   disabilities.
19          23.      The violations identified above are easily removed without much
20   difficulty or expense. They are the types of barriers identified by the Department of
21   Justice as presumably readily achievable to remove and, in fact, these barriers are
22   readily achievable to remove. Moreover, there are numerous alternative
23   accommodations that could be made to provide a greater level of access if complete
24   removal were not achievable.
25          24.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
26   alleges, on information and belief, that there are other violations and barriers in the
27   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
28   notice regarding the scope of this lawsuit, once he conducts a site inspection.
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                                             COMPLAINT
     Case 2:20-cv-01746-AB-AGR Document 1 Filed 02/24/20 Page 6 of 9 Page ID #:6


 1   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
 2   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
 3   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
 4   have all barriers that relate to his disability removed regardless of whether he
 5   personally encountered them).
 6         25.    Without injunctive relief, Plaintiff will continue to be unable to fully
 7   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 8                               FIRST CAUSE OF ACTION
 9   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
10     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
11                                        (P.L. 110-325)
12         26.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
13   above and each and every other paragraph in this Complaint necessary or helpful to
14   state this cause of action as though fully set forth herein.
15         27.    Under the ADA, it is an act of discrimination to fail to ensure that the
16   privileges, advantages, accommodations, facilities, goods, and services of any place
17   of public accommodation are offered on a full and equal basis by anyone who owns,
18   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
19   Discrimination is defined, inter alia, as follows:
20                a.     A failure to make reasonable modifications in policies, practices,
21                       or procedures, when such modifications are necessary to afford
22                       goods, services, facilities, privileges, advantages, or
23                       accommodations to individuals with disabilities, unless the
24                       accommodation would work a fundamental alteration of those
25                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
26                b.     A failure to remove architectural barriers where such removal is
27                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
28                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
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     Case 2:20-cv-01746-AB-AGR Document 1 Filed 02/24/20 Page 7 of 9 Page ID #:7


 1                         Appendix "D".
 2                   c.    A failure to make alterations in such a manner that, to the
 3                         maximum extent feasible, the altered portions of the facility are
 4                         readily accessible to and usable by individuals with disabilities,
 5                         including individuals who use wheelchairs, or to ensure that, to
 6                         the maximum extent feasible, the path of travel to the altered area
 7                         and the bathrooms, telephones, and drinking fountains serving
 8                         the area, are readily accessible to and usable by individuals with
 9                         disabilities. 42 U.S.C. § 12183(a)(2).
10          28.      Any business that provides parking spaces must provide accessible
11   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
12   shall be at the same level as the parking spaces they serve. Changes in level are not
13   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
14   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
15   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
16   designated disabled parking space is a violation of the law and excess slope angle in
17   the access pathway is a violation of the law.
18          29.      A public accommodation must maintain in operable working condition
19   those features of its facilities and equipment that are required to be readily accessible
20   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
21          30.      Here, the failure to ensure that accessible facilities were available and
22   ready to be used by Plaintiff is a violation of law.
23          31.      Given its location and options, Plaintiff will continue to desire to
24   patronize the Business but he has been and will continue to be discriminated against
25   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
26   the barriers.
27   ////
28   ////
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     Case 2:20-cv-01746-AB-AGR Document 1 Filed 02/24/20 Page 8 of 9 Page ID #:8


 1                              SECOND CAUSE OF ACTION
 2       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
 3         32.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 4   above and each and every other paragraph in this Complaint necessary or helpful to
 5   state this cause of action as though fully set forth herein.
 6         33.    California Civil Code § 51 et seq. guarantees equal access for people
 7   with disabilities to the accommodations, advantages, facilities, privileges, and
 8   services of all business establishments of any kind whatsoever. Defendants are
 9   systematically violating the UCRA, Civil Code § 51 et seq.
10         34.    Because Defendants violate Plaintiff’s rights under the ADA,
11   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
12   52(a).) These violations are ongoing.
13         35.    Plaintiff is informed and believes and thereon alleges that Defendants’
14   actions constitute discrimination against Plaintiff on the basis of a disability, in
15   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
16   previously put on actual or constructive notice that the Business is inaccessible to
17   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
18   inaccessible form, and Defendants have failed to take actions to correct these
19   barriers.
20                                          PRAYER
21   WHEREFORE, Plaintiff prays that this court award damages provide relief as
22   follows:
23         1.     A preliminary and permanent injunction enjoining Defendants from
24   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
25   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
26   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
27   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
28   under the Disabled Persons Act (Cal. C.C. §54) at all.
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                                            COMPLAINT
     Case 2:20-cv-01746-AB-AGR Document 1 Filed 02/24/20 Page 9 of 9 Page ID #:9


 1         2.     An award of actual damages and statutory damages of not less than
 2   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
 3         3.     An additional award of $4,000.00 as deterrence damages for each
 4   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
 5   LEXIS 150740 (USDC Cal, E.D. 2016);
 6         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
 7   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
 8                               DEMAND FOR JURY TRIAL
 9         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
10   raised in this Complaint.
11

12   Dated: February 24, 2020               MANNING LAW, APC
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14                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
15                                       Attorney for Plaintiff
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